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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1098V
                                      Filed: March 1, 2016
                                         UNPUBLISHED
*********************************
CARLETTA BOBER,                                   *
                                                  *
                         Petitioner,              *
                v.                                *
                                                  *       Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *       Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************
John Robert Howie, Howie Law, P.C., Dallas, TX, for petitioner.
Althea Walker Davis, U.S. Department of Justice, Washington, DC, for respondent.


                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

      On September 30, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleged that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of a diphtheria-tetanus-acellular pertussis (“Dtap”)
vaccine she received on December 13, 2013. Petition at 1. On January 19, 2016, the
undersigned issued a decision awarding compensation to petitioner based on
respondent’s proffer.




1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On February 19, 2016, petitioner filed an unopposed motion for attorneys’ fees
and costs.3 Petitioner requests attorneys’ fees in the amount of $9,118.00, and
attorneys’ costs in the amount of $461.16, for a total amount of $9,579.16. Id. at 1. In
compliance with General Order #9, petitioner has filed a signed statement indicating
petitioner incurred no out-of-pocket expenses as an attachment to the motion.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42
U.S.C. § 300 aa-15(e). Based on the reasonableness of petitioner’s request and the
lack of opposition from respondent, the undersigned GRANTS petitioner’s application
for attorneys’ fees and costs.4

       Accordingly, the undersigned awards the total of $9,579.16,5 as a lump sum
in the form of a check jointly payable to petitioner and petitioner’s counsel, John
Robert Howie, Jr.

          The clerk of the court shall enter judgment in accordance herewith.6

IT IS SO ORDERED.

                                                             s/Nora Beth Dorsey
                                                             Nora Beth Dorsey
                                                             Chief Special Master




3
    In the motion, petitioner states that respondent has no objection to petitioner’s request.
4
  The undersigned is granting petitioner’s motion based on the reasonableness of the overall amount
sought for attorneys’ fees and costs given the circumstances in this case. This decision should not be
interpreted as an acceptance of the reasonableness of either the hourly rate or amount of hours billed in
this case. In other cases, the undersigned may reduce either the hourly rate requested or the amount of
hours billed.
5
 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, 42 U.S.C. § 300aa-15(e)(3) prevents an attorney from charging or collecting fees (including
costs) that would be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health &
Human Servs., 924 F.2d 1029 (Fed. Cir.1991).

6
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                        2
